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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------X
SALVATORE RIZZO,

                                   Plaintiff,                MEMORANDUM OF
                                                             DECISION AND ORDER
                 -against-                                   08-CV-3219 (ADS)

MICHAEL J. ASTRUE,
Commissioner of Social Security

                                    Defendant.
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APPEARANCES:

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       By: Vincent Lipari, Assistant United States Attorney

SPATT, District Judge

        Salvatore Rizzo (“Rizzo” or “the Plaintiff”) commenced this action pursuant to the Social

Security Act (“the Act”), 42 U.S.C. § 405(g), challenging a final determination by the

Commissioner of Social Security (“the Commissioner”) that he was ineligible for benefits.

Currently before the Court are cross-motions for judgment on the pleadings by the

Commissioner and the Plaintiff pursuant to FED. R. CIV. P. 12(c). For the reasons discussed

below, the Commissioner’s cross-motion for judgment on the pleadings is granted.




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                                       I. BACKGROUND

A.      Procedural History

        On March 10, 2005, Rizzo filed an application for social security disability benefits,

alleging a disability and inability to work since February 2, 2004, due to thoracic and cervical

spinal derangements, right shoulder pain, and abdominal hernias. His application and request for

reconsideration were both denied and a timely request for a hearing before an Administrative

Law Judge (“ALJ”) was made on July 23, 2005.

        On July 12, 2007, a hearing was held before ALJ Andrew Weiss (“ALJ Weiss”).

Following the hearing, in a decision dated August 22, 2007, ALJ Weiss denied Rizzo’s claim for

disability benefits. The Appeals Council denied Rizzo’s request for review on June 26, 2008,

making ALJ Weiss’s decision the final decision of the Commissioner. Rizzo commenced this

civil action on February 5, 2009.

B.      The Record

        1.        The Plaintiff’s Background and Testimony

        Rizzo was born on February 3, 1972, and was 33 years old at the time he filed his claim

for benefits. He has a high school diploma and was working as an auto mechanic for Northport

Ford, a car dealership, when he sustained the injury that forms the basis of his claim. His

employment required him to use machinery in the course of fixing cars. At the hearing before

ALJ Weiss, Rizzo testified that he injured his thoracic and cervical spine, and his right shoulder,

when a machine he was using to perform a “pull and flush” on a car exploded, forcing him back

against a cart.

        The Plaintiff sought medical treatment from St. Catharine’s of Siena Medical Center


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emergency room on the date of the accident. No fractures were noted, he was given muscle

relaxants and discharged. After a visit with Dr. Joseph White, the Plaintiff’s family practitioner,

he was ordered to begin a physical therapy regimen. In addition, the Plaintiff began treatment

with Dr. Michael Sauter, a neurologist, for his back pain. Although Dr. Sauter cleared the

Plaintiff to return to work on April 11, 2005, he was never able to do so. At no time since the

date of the Plaintiff’s injury has he been employed.

       The Plaintiff testified that after the injury to his back he has suffered radiating pain in his

arms and legs which prevents him from being able to work in any capacity. In addition, prior to

his accident the Plaintiff had a history of suffering from hernias, which he continues to

experience. The Plaintiff stated that he is incapable of standing or sitting upright for any

extended period of time without having to switch positions, and cannot carry more than ten

pounds at any given time. He further stated that as a result of his back pain, he has trouble

sleeping, and often gets no more than a few hours of sleep each night. The Plaintiff testified that

he has been approved for and receives Workers’ Compensation benefits.

       2.      Relevant Medical Evidence

               a.      Joseph White, M.D. - Family Doctor

       Dr. White met with Rizzo shortly after his discharge from St. Catharine’s, and ordered

him to begin physical therapy on February 18, 2004. (R.132-34). Dr. White is Rizzo’s primary

care physician, and treats him for his hypertension and routine medical conditions. Id.

               b.      Gerard D’Ariano, M.D. - Spine Specialist

       Dr. D’Ariano examined Rizzo on February 20, 2004, to review his claims of left-sided

neck pain, and right-sided shoulder pain. Dr. D’Arian diagnosed an acute cervical and shoulder


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strain, and possible right arm radiculopathy. (R.114). He recommended an MRI and a

neurological evaluation. (R.115).

               c.     Michael Sauter, M.D. - Neurologist

       Rizzo sought treatment from Dr. Sauter for upper back and neck pain from February 23,

2004 through April 2005. (R.268-76). In a written report, Dr. Sauter noted that Rizzo

demonstrated a limited range of motion in his neck by 10-20%, but that he had a full range of

motion in his back. (R.269). Dr. Sauter also found that Rizzo had a hyperextension injury to his

neck, a mild concussion with post concussion symptomatology, cervical sprain/strain, and

cervical radiculopathy on the right side. Id. He recommended that Rizzo receive physical

therapy treatments. (R.270).

       Dr. Sauter also completed a medical questionnaire on March 31, 2005, opining that Rizzo

could sit for up to six hours over an eight hour work day, stand/walk for up to six hours over an

eight hour work day and lift 10-20 pounds. (R.257). He also noted that Rizzo could return to

work on April 11, 2005, and that he had no work-related restrictions. (R.264-65). Dr. Sauter’s

last date of treatment with Rizzo was April 29, 2005. (R.254).

               d.     Shafi Wani, M.D. - Neurologist

       Dr. Wani treated Rizzo for complaints of back, neck, and shoulder pain from May 2005

through June 2007. (R.295-335). His diagnosis was chronic cervical and dorsolumbar pain,

cervical and lumbar radiculopathy, post traumatic myofascial pain, and dysfunction syndrome.

(R.297). Dr. Wani performed an EMG that demonstrated a left C6-7 radiculopathy. (R.298). He

also reported that an MRI scan of Rizzo’s cervical spine on June 14, 2005 revealed disc

herniations at the C4-C6 levels. However, he noted that MRI scans of Rizzo’s thoracic and


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lumbar spine were unremarkable. Id. Over the next two years, Dr. Wani treated Rizzo for

complaints of back pain, and consistently found stiffness, tenderness, and limited range of

motion in the cervical and lumbar spine in his testing. (R.299-335). Nevertheless, on October

26, 2006, he found that Rizzo was capable of performing non-physical work. (R.324). In June

2007, Dr. Wani diagnosed Rizzo with chronic pain syndrome. (R.335). At the time of the

hearing before ALJ Weiss, an up-to-date medical source statement was being sought from Dr.

Wani. (R.354).

               e.      Tasneem Sulaiman, M.D. - Consultive Physician

       Dr. Sulaiman performed a consultive examination on Rizzo at the request of the Division

of Disability Determination based on his complaints of neck and back pain. (R.278). After a

barrage of tests, Dr. Sulaiman diagnosed exogenous obesity, neck pain with no radiculopathy,

midback pain with no radiculopathy, hypertension, and asthma. (R.280-81). He provided a

medical source statement which indicated that Rizzo had no difficultly sitting, standing, or

walking. (R.281). He wrote that there seemed to be “not much” limitation to Rizzo’s exertional

capacity at that time. Id.

               f.       Randall Schrager, M.D. - Surgeon

       Dr. Schrager began treating Rizzo for a hernia on June 23, 2003, and recommended that

the hernia be removed through surgical repair. (R.163). On July 24, 2003, Dr. Schrager

successfully performed the surgery. (R.157-58). Unfortunately, the hernia was recurrent, and

another surgery was required on March 4, 2004. (R.161-62). However, the hernia persisted, and

a third repair surgery was performed on June 3, 2004 by Dr. Schrager. (R.159-60). Dr. Schrager

saw Rizzo for the last time on October 27, 2004, for another issue concerning the hernia, and


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referred Rizzo to a tertiary care specialist. (R.136-40). Dr. Schrager declined to provide an

opinion concerning Rizzo’s ability to perform work-related activities. (R.138).

               g.      Phillip Barie, M.D. - Surgeon

       Dr. Barie treated Rizzo for the recurrent hernia beginning on November 4, 2004, and

advised Rizzo to undergo surgery. (R.229, 251). Dr. Barie performed the surgery on November

29, 2004, and declared that Rizzo would be disabled for two months following the surgery.

(R.240-43, 251). On April 29, 2005, Dr. Barie stated that Rizzo had fully recovered from

surgery and was medically cleared to return to work on light or modified duty at that time.

(R.225). However, he restricted Rizzo to lifting no more than 25 pounds. (R.228). Dr. Barie

also noted that Rizzo’s impairments did not affect his ability to sit, stand, or walk. (R.231). On

June 14, 2005, Dr. Barie noted that Rizzo’s hernia had recurred and ordered him to lose twenty

pounds. (R.233).

C.     The ALJ’s Findings

       ALJ Weiss denied Rizzo’s disability claim in a written decision dated August 22, 2007.

Based upon the evidence presented, ALJ Weiss found that, despite his impairments, Rizzo was

able to perform sedentary work and was therefore not disabled within the meaning of § 216(i)

and § 223(d) of the Social Security Act. ALJ Weiss’s conclusion rested on several findings.

       First, ALJ Weiss found that although Rizzo’s medically determinable impairments could

reasonably be expected to produce the alleged symptoms, his testimony concerning the intensity,

persistence, and limiting effects of the alleged symptoms was not credible. Second, ALJ Weiss

noted that all of Rizzo’s treating doctors indicate that he can work, and the only stated limitation

is the amount of weight that he can lift. In addition, he found that Rizzo has had only


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conservative treatment for his neck and back pain, and his most recent hernia operation was in

the fall of 2005. Finally, ALJ Weiss found that considering Rizzo’s age, education level, and

work experience, there are jobs that exist in significant numbers in the national economy that he

can perform.

       As noted above, the Appeals Council denied Rizzo’s request for review on June 26, 2008,

making ALJ Weiss’s decision the final decision of the Commissioner.

                                       II. DISCUSSION

A.     Standards of Review

       When reviewing the decision of the Commissioner, the Court may set aside the

determination only if the decision was based on legal error or was not supported by substantial

evidence in the administrative record. See 42 U.S.C. § 405(g); Janinski v. Barnhart, 341 F.3d

182, 184 (2d Cir. 2003); Tejada v. Apfel, 167 F.3d 770, 773 (2d Cir. 1999); Brown v. Apfel, 174

F.3d 59, 61–62 (2d Cir. 1999). Substantial evidence is “more than a mere scintilla,” Richardson

v. Perales, 402 U.S. 389, 401(1971), and requires such relevant evidence that a reasonable

person “might accept as adequate to support a conclusion.” Burgess v. Astrue, 537 F.3d 117,

127 (2d Cir. 2008).

       In addition, the Commissioner must accord special evidentiary weight to the opinion of

the treating physician, as long as the treating physician’s opinion is supported by medically

acceptable techniques; results from frequent examinations; and is consistent “with the other

substantial evidence in [the] case record.” See Clark v. Commissioner of Soc. Sec., 143 F. 3d

115, 118 (2d Cir. 1998). When the Commissioner chooses not to give the treating physician’s

opinion controlling weight, he must give “good reasons in his notice of determination or decision


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for the weight he gives the claimant’s treating source’s opinion.” Id.

       In determining whether the Commissioner’s findings are supported by substantial

evidence, the Court must “examine the entire record, including contradictory evidence and

evidence from which conflicting inferences can be drawn.” Mongeur v. Heckler, 722 F.2d 1033,

1038 (2d Cir. 1983). Further, the Court must keep in mind that “it is up to the agency, and not

[the] court, to weigh the conflicting evidence in the record.” Clark, 143 F.3d at 118. Therefore,

when evaluating the evidence, “the court may not substitute its own judgment for that of the

Secretary, even if it might justifiably have reached a different result upon de novo review.”

Jones v. Sullivan, 949 F.2d 57, 59 (2d Cir. 1991) (quoting Valente v. Secretary of Health &

Human Servs., 733 F.2d 1037, 1041 (2d Cir. 1984)). A reviewing court may “enter upon the

pleadings and transcript of the record, a judgment affirming, modifying, or reversing the

decisions of the Commissioner of Social Security, with or without remanding the cause for a

rehearing.” 42 U.S.C. § 405(g).

B.     Analytical Framework

       To qualify for disability benefits under 42 U.S.C. § 423(d)(1)(A), a plaintiff must

establish his “inability to engage in any substantial gainful activity by reason of any medically

determinable physical or mental impairment . . . which has lasted or can be expected to last for a

continuous period of not less than twelve months.” Butts v. Barnhart, 388 F.3d 377, 383 (2d Cir.

2004). The Act also provides that the impairment must be of “such severity that he is not only

unable to do his previous work but cannot, considering his age, education, and work experience,

engage in any other kind of substantial gainful work which exists in the national economy.” Id.

       Federal regulations set forth a five step analysis that the ALJ must follow when


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evaluating disability claims, including:

               1) whether the claimant is engaged in substantial gainful activity.
               2) whether the claimant has a severe medically determinable physical
               or medical impairment which will impair the claimant from doing
               basic work activities
               3) whether the claimant’s severe medical impairment, based solely on
               medical evidence, is a limitation that is listed in Appendix 1 of the
               regulations.
               4) an assessment of the claimant’s residual functional capacity and
               ability to continue past relevant work despite severe impairment.
               5) an assessment of the claimant’s residual functional capacity along
               with age, education, and work experience. Here the burden shifts to
               the ALJ to show that the claimant can perform alternative work.

20 C.F.R.§§ 404.1520, 416.920.

       When proceeding through this five step analysis, the ALJ must consider the objective

medical facts; the diagnoses or medical opinions based on these facts; the subjective evidence of

pain and disability; and the claimant’s educational background, age, and work experience.

Mongeur, 722 F.2d at1037.

C.     Analysis

       As discussed above, ALJ Weiss determined that the Plaintiff was limited by his injuries

and could not return to his past relevant work. However, based upon a residual functional

capacity determination, ALJ Weiss concluded that despite the impairments, Rizzo was not

disabled because he could still perform sedentary work. Rizzo contends that ALJ Weiss

committed legal error by: (i) failing to fulfill his affirmative duty to obtain an updated medical

source statement from Rizzo’s treating neurologist, Dr. Wani; and (ii) failing to make an

adequate credibility assessment of Rizzo’s testimony.

       1.      The Affirmative Duty to Develop the Medical Record

       The Second Circuit has recognized that, given the non-adversarial nature of a hearing on

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disability benefits, the Commissioner of Social Security is required to affirmatively develop the

medical record before rendering a final decision, even when the claimant is represented by legal

counsel. Perez v. Chater, 77 F.3d 41, 47 (2d Cir. 1996) (citing Echevarria v. Secretary of Health

and Human Services, 685 F.2d 751, 755 (2d Cir. 1982)). The ALJ is required to obtain

additional information from a treating physician if the evidence received from that physician is

inadequate for making a determination of disability. 20 C.F.R. § 404.1512(e). Specifically, if

the ALJ, after reviewing all of the evidence, feels that there is insufficient evidence to make a

determination, pursuant to § 404.1512(e), he must then contact the treating physician. 20 C.F.R.

§ 404.1527(c)(3).

       The Plaintiff’s basic contention is that ALJ Weiss had a duty under 404.1512(e) to seek

additional evidence because the evidence before him was insufficient to make a determination of

disability. In particular, the Plaintiff argues that ALJ Weiss did not have sufficient medical

evidence for a determination since an up-to-date evaluation from Dr. Wani concerning his

assessment of the Plaintiff’s disc herniations was never obtained. The Court disagrees.

       ALJ Weiss had consistent medical evidence before him that was sufficient to make a

determination of disability pursuant to 20 C.F.R. § 404.1527(c)(1). Dr. Sauter, Rizzo’s

neurologist, determined in March of 2005 that he had no work-related restrictions. (R.264-65).

In fact, Dr. Sauter noted that Rizzo could return to work as early as April 11, 2005. (R.265). Dr.

Wani, the neurologist from whom Rizzo solicited additional information, already advised him to

consider “returning back to some type of occupation” because he was capable of doing non-

physical work. (R.324). Dr. Sulaiman determined that Rizzo had no difficulty sitting, standing,

or walking and found that his exertional capacity was not particularly limited. (R.281). Finally,


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Dr. Barie, the surgeon who treated Rizzo for his hernias, cleared him to work as of April 29,

2005. (R.225). Dr. Barie’s subsequent report, in which he found that Rizzo’s hernia had

recurred, did not indicate that he was incapable of returning to work. (R.233).

        20 C.F.R. § 404.1527(c)(1) provides, in pertinent part, that “[i]f all of the evidence we

receive, including all medical opinion(s), is consistent, and there is sufficient evidence for us to

decide whether you are disabled, we will make our determination or decision based on that

evidence.” Id. Where, as here, a treating physician has indicated in an earlier report that a

claimant is capable of performing sedentary or non-physical work, there is no need to further

develop the medical record. Perez, 77 F.3d at 48. In particular, when the claimant seeks a

retrospective medical assessment, and no evidence was shown at the hearing “to indicate that

retrospective assessments would have revealed any useful information or that the physicians

were prepared to undertake such assessment,” an ALJ has a “complete medical history, and the

evidence received from the treating physicians [is] adequate . . . to make a determination as to

disability.” Id.

        The Court notes that there is no indication in the record that Dr. Wani is actually willing

to provide an updated report on Rizzo’s condition. Further, counsel had an opportunity at the

hearing to explain the importance or utility of an updated report from Dr. Wani, but failed to give

any compelling reason as to why such a report was necessary. (R.354-55, 359-60). Under the

circumstances, the Court finds that ALJ Weiss had a complete medical record before him, and

under § 404.1527(c)(1), was capable of making a valid determination of whether the Plaintiff

was disabled.

       2.       The Credibility of Plaintiff’s Testimony


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       Rizzo argues that ALJ Weiss erred by not detailing the specific factors required by the

Commissioner’s regulations and rulings in evaluating his credibility. Specifically, the Plaintiff

cites Social Security Ruling 96-7p, which states in pertinent part that:
               The determination or decision must contain specific reasons for the
               finding on credibility, supported by the evidence in the case record, and
               must be sufficiently specific to make clear to the individual and to any
               subsequent reviewers the weight the adjudicator gave to the
               individual’s statements and the reasons for that weight. This
               documentation is necessary in order to give the individual a full and
               fair review of his or her claim, and in order to ensure a well-reasoned
               determination or decision.
According to the Plaintiff, ALJ Weiss failed to address Rizzo’s allegations concerning his

activities of daily living; the type, dosage and effects of medication; treatment other than

medication; or any other measures taken to relieve pain.

       During the hearing, ALJ Weiss probed the nature and severity of Rizzo’s pain and

elicited information about his daily activities; treatment other than medication; and any other

measures he was taking to relieve pain. Rizzo testified that: he has difficulty sleeping and sitting

in any one position for longer than 20 minutes; he spends most of his day reclining in a lounge

chair; he has received massage therapy treatments; and he stretches and does exercises to relieve

pain. However, ALJ Weiss found that the medical evidence and Rizzo’s own testimony about

his functional capacities were incongruous.

       In particular, ALJ Weiss noted that each of the Plaintiff’s treating physicians had noted

that he was capable of performing non-physical work. After analyzing the medical evidence,

ALJ Weiss implied that the weight of the evidence compelled his determination that Rizzo’s

testimony was not credible. In light of the proffered medical evidence it was reasonable for ALJ

Weiss to conclude that Rizzo’s subjective allegations about the nature and extent of his pain


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were not fully credible.

       Accordingly, the Court finds that ALJ Weiss did not commit legal error and that there

was substantial evidence in the record supporting his conclusion that Rizzo was still capable of

performing sedentary work and was therefore not disabled within the meaning of the Act.

                                        III. CONCLUSION

       The Court has reviewed the submissions of the parties and the findings by the

Commissioner and ALJ Weiss. For the reasons set forth above, it is hereby ordered that

Plaintiff’s motion for judgment on the pleadings is denied. The Commissioner’s cross-motion

for judgment on the pleadings is granted and the Plaintiff’s complaint is dismissed. The Clerk of

the Court is directed to close this case.

SO ORDERED.

Dated: Central Islip, New York
       October 13, 2009
                                               /s/ Arthur D. Spatt
                                               ARTHUR D. SPATT
                                             United States District Judge




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